
81 So. 3d 591 (2012)
David Edward CLINTON, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D12-59.
District Court of Appeal of Florida, Fifth District.
March 2, 2012.
*592 David Edward Clinton, Blountstown, pro se.
Pamela J. Bondi, Attorney General, Tallahassee and Wesley Heidt, Assistant Attorney General, Daytona Beach, for Respondent.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the order rendered on January 24, 2011 in case no. 05-2007-CF-053786-A, in the Circuit Court in and for Brevard County, Florida. See Fla. R.App. P. 9.141(c)(6)(D).
PETITION GRANTED.
TORPY, LAWSON and COHEN, JJ., concur.
